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                                        Slip Op. 20-137

                  UNITED STATES COURT OF INTERNATIONAL TRADE


 ICDAS CELIK ENERJI TERSANE VE
 ULASIM SANAYI, A.S.,

                       Plaintiff,

 HABAS SINAI VE TIBBI GAZLAR ISTIHSAL
 ENDUSTRISI A.S.,

                       Consolidated Plaintiff,

            v.
                                                        Before: Gary S. Katzmann, Judge
                                                        Consol. Court No. 18-00143
  THE UNITED STATES,

                       Defendant,

            and

 NUCOR CORPORATION, CHARTER STEEL and
 KEYSTONE CONSOLIDATED INDUSTRIES,
 INC.,

                       Defendant-Intervenors.


                                           OPINION

[Commerce’s Remand Results are remanded consistent with this opinion.]
                                                           Dated: September 23, 2020

Matthew M. Nolan and Leah N. Scarpelli, Arent Fox LLP, of Washington, DC, for plaintiff.

David L. Simon, Law Office of David L. Simon, of Washington, DC, for consolidated plaintiff.

Elizabeth A. Speck, Senior Trial Counsel, Commercial Litigation Branch, Civil Division, U.S.
Department of Justice, of Washington, DC, for defendant United States. With her on the brief were
Joseph H. Hunt, Assistant Attorney General, Jeanne E. Davidson, Director, L. Misha Preheim,
Assistant Director. Of counsel on the brief was Nikki Kalbing, Attorney, Office of the Chief
Counsel for Trade Enforcement and Compliance, U.S. Department of Commerce, of Washington,
DC.
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Maureen E. Thorson, Derick G. Holt, and Jeffrey O. Frank, Wiley Rein LLP, of Washington, DC,
for defendant-intervenor Nucor Corporation.

R. Alan Luberda, Kelley Drye & Warren, LLP, of Washington, DC, for defendant-intervenors
Charter Steel and Keystone Consolidated Industries, Inc.

       Katzmann, Judge: The court returns to an antidumping (“AD”) investigation by the United

States Department of Commerce (“Commerce”) on imports of carbon and alloy steel wire rod

(“wire rod”) imported into the United States from Turkey. Before the court is Commerce’s Final

Results of Redetermination Pursuant to Court Remand (Apr. 27, 2020), ECF No. 55 (“Remand

Results”), which the court ordered in Icdas Celik Enerji Tersane Ve Ulasim Sanayi, A.S., v. United

States, 44 CIT __, 429 F. Supp. 3d 1353 (2020) (“Icdas I”), so that Commerce could recalculate

its duty drawback adjustment in accordance with the court’s instructions. Plaintiff Icdas Celik

Enerji Tersane ve Ulasim Sanayi, A.S. (“Icdas”) and consolidated-SODLQWLII+DEDú6LQDLYH7LEEL

Gazlar Istihsal Endüstrisi Aù ³+DEDú´  FROOHFWLYHO\³3ODLQWLIIV´ again challenge Commerce’s

methodology for calculating their respective AD margins. Pl. Icdas’s Comments on Final Results

of Redetermination, May 27, 2020, ECF No. 58 (“Pl.’s Br.”); Comments of Consol. Pl. +DEDú in

Opp’n to Redetermination on Remand, May 27, 2020, ECF No. 57 (“Consol. Pl.’s Br.”).

Defendant the United States (“the Government”) and Defendant-Intervenor Nucor Corporation

(“Nucor”) request that the court affirm Commerce’s Remand Results. Def.’s Resp. to Comments

on Remand Redetermination, June 23, 2020, ECF No. 59 (“Def.’s Br.”); Nucor Corp.’s Resp. to

Comments on Final Results of Redetermination, June 26, 2020, ECF No. 60 (“Def.-Inter.’s Br.”).

The court agrees with Plaintiffs that Commerce’s remand methodology is not in accordance with

law and thus again remands the duty drawback methodology to Commerce.
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                               PROCEDURAL BACKGROUND

       The court set out the relevant legal and factual background of the proceedings in further

detail in its previous opinion, Icdas I, 429 F. Supp. 3d at 1357–60. Information relevant to the

instant opinion is set forth below.

       On March 28, 2017, Commerce initiated an AD investigation into wire rod from Turkey

based on petitions from domestic producers alleging that imports of wire rod were being imported

into the United States to the detriment of the domestic industry. See Carbon and Alloy Steel Wire

Rod From Belarus, Italy, the Republic of Korea, the Russian Federation, South Africa, Spain, the

Republic of Turkey, Ukraine, United Arab Emirates, and United Kingdom: Initiation of Less-

Than-Fair-Value Investigations, 82 Fed. Reg. 19,207, 19,207 (Dep’t Commerce Apr. 26, 2017),

P.R. 8. After the requisite investigation, Commerce agreed with petitioners and calculated AD

PDUJLQVIRU,FGDVDQG+DEDúRI7.94 percent and 4.93 percent, respectively, and an “All Others”

rate of 6.34 percent. See Carbon and Alloy Steel Wire Rod from Italy, the Republic of Korea,

Spain, the Republic of Turkey, and the United Kingdom, 83 Fed. Reg. 23,417 (Dep’t Commerce

May 21, 2018), P.R. 1289; Carbon and Alloy Steel Wire Rod from Turkey: Final Determination

of Sales at Less Than Fair Value and Final Negative Determination of Critical Circumstances, 83

Fed. Reg. 13,249, 13,250 (Dep’t Commerce Mar. 28, 2018), P.R. 1285. In its investigation,

Commerce determined that Icdas and +DEDú satisfied the criteria of 19 U.S.C. § 1677a(c)(1)(B)

(2012) 1 and qualified for a duty drawback adjustment on rebates of duties paid on goods that were

subsequently exported, pursuant to Turkey’s Inward Processing Regime. See Mem. from J.

Maeder to G. Taverman, re: Decision Mem. for the Prelim. Determination and Negative




1
 Further citations to the Tariff Act of 1930, as amended, are to the relevant provision of Title 19
of the U.S. Code, 2012 edition.
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Determination of Critical Circumstances at 10 (Dep’t Commerce Oct. 24, 2017), P.R. 951. In

calculating the duty drawback adjustment, Commerce employed a “duty neutral” methodology,

which allocated duty drawback over “all production for the relevant period . . . .” Id. at 11; Mem.

from J. Maeder to G. Taverman, re: Issues and Decision Mem. for the Final Affirmative

Determination and Negative Determination of Critical Circumstances at 9 (Dep’t Commerce Mar.

19, 2018), P.R. 1273 (“IDM”). As Commerce explained in the IDM, to fairly compare “[export

price] with [normal value], . . . Commerce will make the duty drawback adjustment to [export

price] in a manner that will render this comparison duty neutral.” Id. at 9. Thus, Commerce “made

an upward adjustment to [export price] based on the amount of the duty imposed on the input and

rebated or not collected on the export of the subject merchandise by allocating the amount rebated

or not collected to all production for the relevant period based on the cost of inputs during the

POI.” Id. at 9.

       Plaintiffs challenged the Amended Final Determination before the court.             Icdas’s

Summons, June   (&) 1R  ,FGDV¶V &RPSO -XO\   (&) 1R  +DEDú¶V

Summons, +DEDúY8QLWHG6WDWHV, No. 18- &,7ILOHG-XQH (&)1R+DEDú¶V

Compl., +DEDú, No. 18-145, ECF No. 6 (CIT filed July 12, 2018); Joint Mot. to Consol. Cases,

Sept. 20, 2018, ECF No. 23; Ct. Order Granting Mot., Sept. 26, 2018, ECF No. 26. Plaintiffs

claimed, in relevant part, that the duty neutral methodology employed by Commerce to calculate

the duty drawback adjustment contradicts the plain language of 19 U.S.C. § 1677a(c), resulting in

higher AD duties on their exports of wire rod from Turkey by not affording Plaintiffs their full

duty drawback adjustment. Icdas I, 429 F. Supp. 3d at 1360. The court agreed, holding that the

duty neutral methodology was contrary to law. Id. at 1360–65. The court remanded the duty
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drawback methodology “with instructions to recalculate the duty drawback adjustment.” Id. at

1365.

        On remand, Commerce added the full amount of exempted duties to export price as directed

by the court. Remand Results at 12. Further, Commerce made two circumstances of sale

adjustments (“COS adjustments”) to normal value to increase it by the same amount as the duty

drawback adjustment. Id. at 15–16. Commerce calculated new dumping margins of 8.72 percent

and 3.22 percent for Icdas and +DEDú, respectively, and an All Other rate of 4.78 percent. Id. at

44. The Government filed the final Remand Results with the court on April 27, 2020. See id.

Plaintiffs filed their comments on the Remand Results on May 27, 2020. Pl.’s Br.; Consol. Pl.’s

Br. The Government and Nucor filed replies to these comments on June 26, 2020. Def.’s Br.;

Def.-Inter.’s Br.

  JURISDICTION, STANDARD OF REVIEW, AND INTERPRETIVE FRAMEWORK

        The court has jurisdiction over this action pursuant to 28 U.S.C. § 1581(c) and 19 U.S.C.

§ 1516a(a)(2)(B)(i).    The standard of review in this action is set forth in 19 U.S.C. §

1516a(b)(1)(B)(i): “[t]he court shall hold unlawful any determination, finding or conclusion found

. . . to be unsupported by substantial evidence on the record, or otherwise not in accordance with

law.” The court also reviews the Remand Results “for compliance with the court’s remand order.”

See Beijing Tianhi Indus. Co. v. United States, 39 CIT __, __, 106 F. Supp. 3d 1342, 1346 (2015)

(citations omitted).

        The two-part framework established in Chevron, U.S.A., Inc. v. Natural Resources Defense

Council, Inc., 467 U.S. 837 (1984), guides the court’s review of Commerce’s statutory

interpretation. See also Apex Frozen Foods Private Ltd. v. United States, 862 F.3d 1322, 1329

(Fed. Cir. 2017). Under Chevron’s first prong, the court asks “whether Congress has directly
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spoken to the precise question at issue.” 467 U.S. at 842. See also Apex Frozen Foods, 862 F.3d

at 1329. “If yes, ‘that is the end of the matter,’ and we ‘must give effect to the unambiguously

expressed intent of Congress.’” Apex Frozen Foods, 862 F.3d at 1329 (quoting Chevron, 467 U.S.

at 842–43). If, however, “the statute is silent or ambiguous with respect to the specific issue,” the

court proceeds to the second prong of the Chevron analysis. Id. (quoting Chevron, 467 U.S. at

843). “[T]he question for the court” then becomes “whether the agency’s answer is based on a

permissible construction of the statute.” Chevron, 467 U.S. at 843.

                                          DISCUSSION
       Plaintiffs challenge Commerce’s Remand Results, claiming that the COS adjustment to

normal value did not comply with court’s remand order and was not in accordance with law --

specifically the statute, Commerce’s regulations, and recent persuasive caselaw. See Pl.’s Br. at

4–14; Consol. Pl.’s Br. at 1–11. Because Commerce’s remand methodology contravenes the plain

language of the statute and did not comply with the court’s previous opinion, the court remands to

Commerce for a second time.

       I.      Legal Framework

       As discussed in detail Icdas I, 429 F. Supp. 3d at 1361–62, pursuant to statute, “if a foreign

country would normally impose an import duty on an input used to manufacture the subject

merchandise, but offers a rebate or exemption from the duty if the input is exported to the United

States, then Commerce will increase [export price] to account for the rebated or unpaid import

duty (or, the ‘duty drawback’).” Saha Thai Steel Pipe (Public) Co. v. United States, 635 F.3d

1335, 1338 (2011); 19 U.S.C. § 1677a(c). The duty drawback adjustment is intended “to account

for the fact that the producers remain subject to the import duty when they sell the subject

merchandise domestically, which increases home market sales prices and thereby increases

[normal value].” Saha Thai, 635 F.3d at 1338. By adjusting export price to reflect duty drawback,
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the adjustment ensures “a fair comparison between normal value and export price.” Tosçelik Profil

ve Sac Endüstrisi A.S. v. United States, 42 CIT __, __, 321 F. Supp. 3d 1270, 1275 (2018); id., 43

CIT __, 375 F. Supp. 3d 1312 (2019); id., 43 CIT __, 415 F. Supp. 3d 1395 (2019) (“Tosçelik

III”), id., 44 CIT __, Slip Op. 20-105 (July 28, 2020) (citing Saha Thai, 635 F.3d at 1338 (other

citations omitted)).

       In its previous opinion, the court ordered Commerce “to recalculate the duty drawback

adjustment in accordance with” its opinion. Icdas I, 429 F. Supp. 3d at 1365. There, the court

concluded that the statute is not silent on duty drawback methodology, but that it “explicitly states

that the export price should be increased by the amount of import duties rebated or not collected

because of exportation of the merchandise. The plain language, moreover, provides no indication

that the duty drawback should instead be tied to overall production.” Id. at 1364 (citing 19 U.S.C.

§ 1677a(c)(1)(B) (stating that export price shall be increased by “the amount of any import duties

imposed by the country of exportation which have been rebated, or which have not been collected,

by reason of the exportation of the subject merchandise to the United States”) (emphasis added)).

The court also highlighted the legislative history of the statute and five instances in which the court

rejected the duty neutral methodology. Id. at 1364–65 (citations omitted). Thus, the court

concluded that “[t]he plain language of the statute, persuasive case law from this court, and the

legislative history all support the proposition that the duty drawback must be tied to exported

merchandise, not overall domestic production.” Id. at 1365. Based on this conclusion, the court

remanded the duty drawback methodology to Commerce “in accordance with [that] opinion.” Id.

at 1365, 1372.

       Of further relevance to Commerce’s Remand Results, Congress authorized Commerce to

adjust normal value for differences between home market price and U.S. price that are not
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otherwise provided for in the statute and are due to “other differences in the circumstances of sale,”

i.e. COS adjustments. 19 U.S.C. §1677b(a)(6)(C)(iii). Commerce’s regulations interpreting this

provision limit COS adjustments to “direct selling expenses and assumed expenses.” 19 C.F.R. §

351.410(b). Commerce defines direct selling expenses as “expenses, such as commissions, credit

expenses, guarantees, and warranties, that result from, and bear a direct relationship to, the

particular sale in question.” Id. § 351.401(c). By contrast, Commerce defines assumed expenses

as “selling expenses that are assumed by the seller on behalf of the buyer, such as advertising

expenses.” Id. § 351.410(d).

       II.     Commerce’s Remand Methodology

       On remand, Commerce added the full amount of duty drawback to the United States export

price in its AD duty calculation as directed by the court. Remand Results at 12. Further,

Commerce made additional COS adjustments to normal value of wire rod in Turkey because of its

continued insistence on accounting for Turkey’s drawback scheme on both sides of the home

market to U.S. price comparison. See id. at 14. Commerce’s remand methodology provides for

two COS adjustments, one to remove all duties from normal value and a second to add the per-

unit amount of duty as the export price to normal value. Id. at 15–16. Finding that “neither +DEDú

nor Icdas recorded import duties associated with imported raw materials in its costs,” Commerce

concluded that no COS adjustment requirement was required to “remove all booked duties eligible

for rebate from the [constructed value] and home market price[].” Id. at 15. Second, Commerce

made a COS adjustment to account for the fact that Turkey’s duty drawback scheme “allocated

[the price of inputs] across overall production, rather than market-specific production,” a

difference from standard costs accounting. Id. at 16. Thus, Commerce “add[ed] to the [normal

value] the same per-unit amount of rebated or forgiven duty added to U.S. price.” Id. at 17.
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Commerce explained that in accordance with the purpose of the drawback duty statute and the

Federal Circuit’s opinion in Saha Thai, it made these adjustments to account for Congress’s

assumption in implementing the statute that home market price reflects import duties. Id. at 7–8.

Thus, the difference in circumstance was the assignment of duty costs to products “based on where

they were sold.” Id. at 14. In sum, Commerce made a different adjustment to its duty calculation

on remand to achieve the same results as its original duty neutral methodology.

       The Government and Nucor explain these results as consistent with the court’s remand

order, in accordance with “applicable statutory and regulatory provisions,” and not precluded by

other decisions of this court. Def.’s Br. at 3, 6–21; Def.-Inter.’s Br. at 4, 14. The Government

states that, because Commerce “assumes that imported inputs were consumed in the exported

finished goods,” “that a [COS] adjustment was required to make a fair comparison between normal

value and export prices.” Def.’s Br. at 3 (citations omitted). The Government concludes that

Commerce’s remand methodology comports with the purpose of the duty drawback statute, which

it describes as “to prevent artificially overstating the [AD] margin,” and the underlying assumption

of the statute “that the adjustment to United States price is necessary because the same amount of

duties are included in the normal value.” Def.’s Br. at 10. Similarly, Nucor claims that

Commerce’s Remand Results are supported by the same justifications for the duty neutral

methodology rejected by the court’s previous opinion.         See Def.-Inter.’s Br. at 4–9.    The

Government also concludes that the Remand Results are consistent with the court’s instructions

that did not bar “a [COS] adjustment to normal value to account for direct selling expenses.” Def.’s

Br. at 12. See also Def.-Inter.’s Br. at 1.

       Plaintiffs maintain that the Remand Results do not comply with the court’s remand

instructions, the statute, Commerce’s regulations, or caselaw. Pl.’s Br. at 4–14; Consol. Pl.’s Br.
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at 1–11. First, Plaintiffs argue that Commerce’s COS adjustment negates the duty drawback

adjustment ordered by the court and rests on flawed assumptions about the effect of Turkey’s duty

drawback scheme and the purpose of the duty drawback adjustment. See Pl.’s Br. at 4–5. See also

Pl.’s Br. at 12 (“[A]s [Commerce] has itself concluded, ‘[t]o make an adjustment to [normal value]

for duty drawback where there is no evidence of such drawback on home market sales would

nullify the adjustment to U.S. price.’” (quoting Welded Carbon Steel Standard Pipe and Tube

Products from Turkey: Final Results of Antidumping Duty Administrative Review and Final

Determination of No Shipments; 2013–2014, 80 Fed. Reg. 76,674 (Dep’t Commerce Dec. 10,

2015), and accompanying Issues and Decision Mem. at 14, cmt. 4)); Consol. Pl.’s Br. at 5–6.

Plaintiffs also argue that Commerce’s remand methodology is inconsistent with the duty drawback

statute, COP adjustment statute, and Commerce’s regulations implementing these statutes. Pl.’s

Br. at 6–12; Consol. Pl.’s Br. at 8–9, 11–12. Finally, Plaintiffs note that Commerce’s remand

methodology has also been rejected by the court in several recent decisions and is unsupported by

the Federal Circuit’s caselaw. Pl.’s Br. at 13–15 (citations omitted); Consol. Pl.’s Br. at 1–5

(citations omitted). See also Consol. Pl.’s Br. at 7 (“Commerce conflates the cost adjustment

permitted in Saha Thai with a more general adjustment to normal value, which was never addressed

in Saha Thai.”).

        III.    Analysis
        The court concludes that Commerce’s remand methodology does not comport with the

plain language of the statute. 2

        On remand, Commerce classified the operation of Turkey’s duty drawback scheme as a

direct selling expense and thus made a COS adjustment to normal value to account for this expense.


2
  Because the court remands Commerce’s Remand Results on this basis, it need not address the
remainder of Plaintiffs’ challenges to Commerce’s remand methodology.
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Remand Results at 13–14. Commerce explained that the statute allows for an adjustment to normal

value where a duty drawback scheme, such as the one at issue here, “treat[s] the import duty

liability different from standard cost accounting by permitting the assignment of imported inputs

and the associated imports duties to export sales, while attributing the domestic purchases

exclusive of duty to domestic sales.” Remand Results at 13 (citing 19 U.S.C. § 1677b(a)(6)(C)(iii);

Uruguay Round Agreements Act, Statement of Administrative Action, H.R. Doc. No. 103-316,

Vol. 1, 820 (1994), reprinted in 1994 U.S.C.C.A.N. 4040, 4163).

       However, Commerce’s methodology and explanation for its COS adjustment does not

comport with the statute or its own interpretation that statute. 3 The statute allows for adjustments

to normal value for differences between normal value and U.S. price, “other than a difference for

which allowance is otherwise provided under this section” and are due to “other differences in the

circumstances of sale.” 19 U.S.C. § 1677b(a)(6)(C). This language explicitly ties adjustments to

normal value to differences in sales, excluding all other adjustments directed by statute. Here,

Commerce made an adjustment to normal value in order to address what it views as a distortion




3
  Plaintiffs also challenge the Remand Results as inconsistent with Commerce’s regulations, Pl.’s
Br. at 6–11; Consol. Pl.’s Br. at 8–9. Two other opinions of the court conclude that the same
methodology applied on remand here also contravenes Commerce’s own regulation. +DEDú Sinai
ve Tibbi Gazlar Istihsal Endustrisi, A.S. v. United States, 43 CIT __, 361 F. Supp. 3d 1314 (2019);
id., 43 CIT __, __, 415 F. Supp. 3d 1195, 1210–12 (2019) (“+DEDú II”), id., 44 CIT __, 439 F.
Supp. 3d 1342 (2020), id., 44 CIT __, Slip Op. 20-131 (Sept. 4, 2020); Ere÷li Demir ve Çelik
)DEULNDODUL7$ùY8QLWHG6WDWHV, 42 CIT __, 308 F. Supp. 3d 1297 (2018); id., 42 CIT __, 357
F. Supp. 3d 1325 (2018), id., 43 CIT __, 415 F. Supp. 3d 1216, 1230–32 (2019); id., 44 CIT __,
435 F. Supp. 3d 1378 (Apr. 13, 2020), appeals docketed, Nos. 2020-1999; 2020-2003 (Fed. Cir.
June 10, 2020); Uttam Galva Steels Ltd. v. United States, 42 CIT __, 311 F. Supp. 3d 1345 (2018);
id., 43 CIT __, 374 F. Supp. 3d 1360 (2019) (“Uttam Galva II”); id., 43 CIT __, __, 416 F. Supp.
3d 1402, 1407 (2019) (“Uttam Galva III”), appeal docketed No. 2020-1461 (Fed. Cir. Feb. 12,
2020). The court need not reach that issue because of its conclusion that Commerce’s methodology
did not comport with the statute. The court refers to the regulation only to the extent that
Commerce’s own interpretation of the statute illustrates that its remand methodology violates the
statutory language.
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created by the duty drawback provision and Turkey’s duty drawback scheme as it impacts overall

production costs. Remand Results at 12–14. Thus, Commerce did not address a cost incurred

because of the circumstance of a particular sale, but instead the impact on overall costs by

operation of law. See also Pl.’s Br. at 5 (“[Commerce] again improperly compares U.S. price to

[cost of production] to register an imbalance, despite the fact that there is only one [cost of

production] in a dumping calculation and no distortion from a [normal value]-export [cost of

production] differential”).

       COS adjustments are made to compare prices “at a similar point in the chain of commerce.”

Maverick Tube Corp. v. Tosçelik Profil ve Sac Endustrisi A.S., 861 F.3d 1269, 1274 (Fed. Cir.

2017) (citation omitted). This does not include varying duty costs resulting from different sources

of inputs and a corresponding statutory duty drawback adjustment. Cf. +DEDú Sinai ve Tibbi

Gazlar Istihsal Endustrisi, A.S. v. United States, 43 CIT __, 361 F. Supp. 3d 1314 (2019); id., 43

CIT __, __, 415 F. Supp. 3d 1195, 1212 (2019) (“+DEDúII”); id., 44 CIT __, 439 F. Supp. 3d 1342

(2020); id., 44 CIT __, Slip Op. 20-131 (Sept. 4, 2020) (citing Antidumping Duties; Countervailing

Duties, 61 Fed Reg. 7,308, 7,346 (Dep’t Commerce Feb. 27, 1996)); Ere÷li Demir ve Çelik

)DEULNDODUL7$ùY8QLWHG6WDWHV, 42 CIT __, 308 F. Supp. 3d 1297 (2018); id., 42 CIT __, 357

F. Supp. 3d 1325 (2018) (“Ere÷li II”); id., 43 CIT __, 415 F. Supp. 3d 1216, 1231 (2019) (“Ere÷li

III”); id., 44 CIT __, 435 F. Supp. 3d 1378 (Apr. 13, 2020), appeals docketed, Nos. 2020–1999;

2020–2003 (Fed. Cir. June 10, 2020) (same). See also Consol. Pl.’s Br. at 8–9 (“As the cost-side

adjustment approved in Saha Thai makes clear, the imputation of a duty cost affects the cost of

production; it does not relate to sales transactions.”). If COS adjustments were interpreted as

broadly as Commerce suggests in its Remand Results, then it may also follow that Commerce

could use COS adjustments to nullify any adjustment to export price statutorily provided for in the
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interest of a “fair comparison.” 4 The court, instead, reads the COS provision to effectuate the

meaning of the Trade Act as a whole. Commerce’s remand methodology using a COS adjustment

contravenes the statute. 5 See Chevron, 467 U.S. at 842–43 (holding, where “Congress has directly

spoken to the precise question at issue,” “that is the end of the matter” because the court “must

give effect to the unambiguously expressed intent of Congress”).

       Commerce improperly treats the COS provision as a catch-all adjustment for normal value

calculation. Commerce contends that the COS “provision is the only means to ensure a fair

comparison” with a duty exemption program like the one at issue here. Remand Results at 36.

See also Remand Results at 38 (“Such an expense is exactly what the COS adjustment is created

for when no other statutory provision applies.”). However, Commerce may not use the COS

provision as a catch-all provision but must make COS adjustments in line with the text and purpose

of the statute. See Zenith Elecs. Corp. v. United States, 14 CIT 831, 837, 755 F. Supp. 397, 406

(1990) (“Zenith I”), aff’d, 988 F.3d 1573 (Fed Cir. 1993) (“Zenith II”) (stating that the COS

provision “is not an omnibus provision to be used . . . for whatever adjustment [Commerce] seek[s]


4
  As the court noted in +DEDú II, the statute as explained by the Federal Circuit expressly states
how to make a fair comparison between normal value and U.S. price. 415 F. Supp. 3d at 1210
(citing Timken Co. v. United States, 354 F.3d 1334, 1344 (Fed. Cir. 2004)). Thus, the court in
+DEDú II concluded that “the ‘fair comparison’ requirement is met when normal value is calculated
in accordance with the statute and does not provide Commerce with additional authority to make
adjustments ‘beyond those explicitly established in the statute.’” Id.
5
  While the Government claims that Commerce’s remand methodology is “not an adjustment to
the costs of production in the home market,” but rather an adjustment to normal value, Def.’s Br.
at 8, its own explanation of the COS adjustment explains that it is tied to Commerce’s calculation
of “cost based on the annual average cost of input, which includes both input prices with duties
and domestically-sourced inputs without duties.” Def.’s Br. at 14. Thus, its claim that the purpose
of duty drawback scheme being to promote export sales and “incentivize[s] parties to produce
merchandise from an imported input and export the merchandise” in order to justify the COS
adjustment is unavailing. See Def.’s Br. at 19. See also Def.-Inter.’s Br. at 12 (“[W]here there is
a duty drawback system in place, duty costs are an expense related to a respondents’ [sic] decision
to sell goods to a particular market.”).
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to effect”). The Zenith cases are instructive on this point. In Zenith I, this court rejected

Commerce’s use of a COS adjustment to make an adjustment to normal value to nullify a statutory

adjustment for taxes tied to exportation in order to achieve a tax neutral dumping margin to avoid

what Commerce considered a distortion in the dumping margin. 755 F. Supp. at 405–07. The

court held that COS adjustments “provide a means for addressing those items not otherwise

included in the statute,” and that, because the tax adjustment was statutorily provided for,

Commerce could not use the COS provision to further adjust the normal value to account for these

taxes. Id. at 406. The Federal Circuit agreed with this holding on appeal and stated that the court

“properly interpreted the general circumstances-of-sale language to prevent [Commerce] from

effectively writing the specific tax adjustment section out of the statute.” Zenith II, 988 F.3d at

1581. Further, the Federal Circuit stated, “Commerce did not employ [the COS adjustment

provision] to remedy a dumping margin variance caused by a circumstance of sale, but a variance

caused by operation of the [statute].”       Id. (“[N]othing in the enactment history of the

circumstances-of-sale provision permits [Commerce] to trump the express and specific statutory

language.”). Commerce’s COS adjustment here is remarkably analogous. 6 Thus, the court

concludes that Commerce may not use a COS adjustment to nullify the duty drawback adjustment

provided for by statute.

       Furthermore, Commerce’s reliance on Saha Thai is strained. Commerce states that “the

Federal Circuit has held, in Saha Thai, that it is appropriate for Commerce to add the duty to




6
  Nucor argues that this case is more analogous to a case that followed the Zenith cases, Federal-
Mogul Corporation v. United States, in which the Federal Circuit upheld Commerce’s tax neutral
methodology. Def.-Inter.’s Br. at 14–15. The court does not find this argument persuasive because
Federal-Mogul did not overturn the Zenith cases but instead approved of a tax neutral methodology
that did not include a COS adjustment. See 63 F.3d 1572, 1577–82 (1995). Thus, the Zenith cases
are more analogous to Commerce’s methodology using a COS adjustment here.
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[normal value], because otherwise the dumping calculation would not be duty-drawback neutral.”

Remand Results at 33 (citing 635 F.3d at 1343). The Federal Circuit in Saha Thai affirmed

adjustments to cost of production and constructed value that were included in the normal value

calculation, not a direct adjustment to normal value through a COS adjustment. 635 F.3d at 1341–

43. See also Uttam Galva Steels Ltd. v. United States, 42 CIT __, 311 F. Supp. 3d 1345 (2018);

id., 43 CIT __, __, 374 F. Supp. 3d 1360, 1363 (2019) (“Uttam Galva II”); id., 43 CIT __, 416 F.

Supp. 3d 1402 (2019) (“Uttam Galva III”), appeal docketed, No. 2020-1461 (Fed. Cir. Feb. 12,

2020) (“Saha Thai . . . should not be expanded to encompass all duty drawback adjustment

calculations made by Commerce”) (citation omitted); Ere÷li II, 357 F. Supp. 3d at 1334

(“Commerce’s interpretation of the Federal Circuit’s discussion of duty inclusivity[, in Saha Thai]

. . . , which would neutralize the duty drawback adjustment, goes further than the opinion supports

and is inconsistent with the purpose of the statute.”). There, the Federal Circuit observed that “[a]n

import duty exemption granted only for exported merchandise has no effect on home market sales

prices” and thus, “the duty exemption should have no effect on [normal value].” Saha Thai, 635

F.3d at 1342. Commerce’s reliance on Saha Thai for an overall adjustment to normal value

stretches Saha Thai’s holding on cost calculations beyond its meaning. More importantly, the

Saha Thai holding did not speak directly to COS adjustments to normal value, the defect that the

court identifies in Commerce’s remand methodology here.

       Notably, this court rejected Commerce’s remand methodology in four other opinions after

being instructed to recalculate duty drawback adjustments on remand. See generally +DEDú II;
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(UH÷OL III; Uttam Galva III; Tosçelik III. 7 Commerce’s methodology in this case is no different,

as Commerce and the Government acknowledge. Remand Results at 38; Def.’s Br. at 16. 8

       Finally, Commerce’s remand methodology does not comport with the court’s previous

opinion. As Commerce explains in the Remand Results, “Commerce . . . applied its revised

methodology to account for duty drawback on the [normal value] side of the equation.” Remand

Results at 12.    Thus, Commerce’s remand methodology, like the duty neutral drawback

methodology the court held to be unlawful in Icdas I, also has the effect of adjusting normal value

so that the duty drawback is not strictly tied to exported merchandise as required by statute. See

Icdas I, 429 F. Supp. 3d at 1365 (holding that Commerce may not divide “the duty drawback over

domestic sales, to which the drawback is unrelated”). That Commerce repackaged this adjustment

as a COS adjustment does not alter the court’s previous conclusion. Cf. Zenith III, 988 F.2d at

1581 (holding that Commerce may not use the COS provision to “effectively writ[e] [a separate

adjustment] section out of the statute.”). See also +DEDú II, 415 F. Supp. 3d at 1209; (UH÷OL III,

415 F. Supp. 3d at 1228–29; Tosçelik III, 415 F. Supp. 3d at 1400 (“[T]he circumstance of sale

adjustment does not remedy an imbalance; it negates the duty drawback adjustment.”). In response

to Plaintiffs’ arguments on the draft remand results, Commerce stated that its remand methodology



7
  Various appeals from these decisions are pending at the Federal Circuit. See (UH÷OL, appeals
docketed, Nos. 2020-1999; 2020-2003 (Fed. Cir. June 10, 2020); Uttam Galva, appeal docketed,
No. 2020-1461 (Fed. Cir. Feb 12, 2020). However, as of the date of this opinion, the Federal
Circuit has not yet heard argument or decided any appeal of Commerce’s duty drawback or COS
calculations.
8
  Commerce attempts to argue that its similar use of a COS adjustment was sustained in Uttam
Galva III. Remand Results at 37. While that correctly summarizes the posture of the case, the
court specifically detailed its concerns with the adjustment, stating that Commerce’s COS
adjustments “are suspect” and explaining that “Commerce’s [COS] adjustments do not result from
circumstances concerning the sale of merchandise.” Uttam Galva III, 416 F. Supp. 3d at 1407.
Ultimately, because plaintiffs’ AD rates were calculated to be zero, plaintiffs did not further
challenge Commerce’s methodology and thus the methodology was sustained. Id.
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comported with the court’s order because the court “did not remand this issue with specific

instructions on how to address the duty drawback adjustment to the [normal value] side of the

equation.” Remand Results at 31. However, an altered methodology that negates the court’s

remand instruction does not comply with those instructions.

       Thus, Commerce’s new methodology is unlawful and did not comply with the court’s

remand instructions.

                                          CONCLUSION

       The court concludes that Commerce’s full duty drawback adjustment to export price in its

Remand Results was in accordance with law and the court’s remand instructions. This aspect of

Commerce’s remand is sustained.          However, the court concludes that Commerce’s COS

adjustment to normal value was not in accordance with law or the court’s remand instructions.

The court thus remands the Remand Results to Commerce. On remand, Commerce shall,

consistent with this opinion, recalculate normal value without making a circumstance of sale

adjustment related to the duty drawback adjustment made to export price (or constructed export

price). Commerce shall file with this court and provide to the parties its remand results within 90

days of this order; thereafter the parties shall have 30 days to submit briefs addressing the revised

final determination with the court, and the parties shall have 30 days thereafter to file reply briefs

with the court.

       SO ORDERED.

                                                              /s/ Gary S. Katzmann
                                                              Gary S. Katzmann, Judge

 Dated: September 23, 2020
        New York, New York
